  Case 1:21-cv-00665-SB Document 35 Filed 05/13/22 Page 1 of 2 PageID #: 664




                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF DELAWARE

ROBERT S. GARNER, on behalf of                           )
himself and all others similarly situated,               )
                                                         )
               Plaintiff,                                )
       v.                                                )
                                                         )   Case No. 21-cv-0665-SB
GLOBAL PLASMA SOLUTIONS INC.,                            )
                                                         )
                                       Defendant.        )

                                     NOTICE OF SERVICE

       Please take notice that on the 13th day of May, 2022, copies of Plaintiff’s Default

Paragraph 3 Disclosures were served upon the following counsel via email:

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